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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION


     UNITED STATES OF AMERICA                                PLAINTIFF/RESPONDENT

     v.                            Criminal No. 04-50016-004
                                   Civil No. 07-5070

     JORGE CASTANEDA                                         DEFENDANT/PETITIONER

                                         O R D E R

           Now on this 19th day of October, 2007, comes on for

     consideration the Report and Recommendation of the Magistrate

     Judge, Hon. James R. Marschewski (document #200, filed September

     26, 2007), in this matter, to which no objections have been

     filed, and the Court, having carefully reviewed said Report and

     Recommendation, finds that it is sound in all respects, and that

     it should be adopted in toto.

           IT IS THEREFORE ORDERED that the Magistrate Judge's Report

     and Recommendation is adopted in toto.

           IT IS FURTHER ORDERED that, for the reasons stated in the

     Magistrate Judge's Report and Recommendation, Castaneda's Motion

     to Vacate under 28 U.S.C. § 2255 (doc. # 197) is hereby denied

     and this case is       dismissed with prejudice.

           IT IS SO ORDERED.



                                                 /s/Jimm Larry Hendren
                                                 HON. JIMM LARRY HENDREN
                                                 UNITED STATES DISTRICT JUDGE
